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                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

GAGE MOORE,                                        )
                                                   )
                        Plaintiff,                 )
                                                   )
       v.                                          )           Case No. 3:21-CV-01583-JPG
                                                   )
ADVANCED TECHNOLOGY                                )           Honorable J. Phil Gilbert
SERVICES, INC.,                                    )
                                                   )
                        Defendant.                 )

            CONSENT ORDER ON DEFENDANT’S MOTION TO TRANSFER
                    AND MOTION FOR PARTIAL DISMISSAL

       Defendant Advanced Technology Services, Inc. (ATS) filed a Motion to Transfer Venue

(Dkt. 8) and a Partial Motion to Dismiss (Dkt. 16). The Parties have made this Court aware that

they consent to the following being ordered:

       a. Defendant’s Motion to Transfer Venue is hereby GRANTED. The Clerk of Court is

            hereby instructed to transfer this matter to the Central District of Illinois, Peoria

            Division.

       b. After transfer to the Central District of Illinois, the Parties agree Plaintiff shall file an

            Amended Complaint within 14 days following the transfer.

       c. Due to the agreement to file an Amended Complaint, this Court finds that

            Defendant’s Partial Motion to Dismiss is DENIED as MOOT. This denial is without

            prejudice to Defendant’s right to file a Rule 12 motion following amendment.


IT IS SO ORDERED.
Dated: March 9, 2022
                                                       /s/ J. Phil Gilbert
                                                       J. PHIL GILBERT
                                                       DISTRICT JUDGE



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